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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                    Criminal No.: 21-cr-00552 (DLF)

 -v-                                                DEFENDANT THOMAS’S CONSENT
                                                    MOTION FOR EXTENSION OF TIME TO
 KENNETH JOSEPH OWEN THOMAS,                        FILE PRETRIAL MOTIONS

                    Defendant.



       Defendant Kenneth Joseph Owen Thomas, with the United States’ consent, hereby moves

for a extension of time for Defendant Kenneth Joseph Owen Thomas to file his pretrial motions.

The current reply deadline is February 16, 2023.

   1. Counsel for Defendant Kenneth Joseph Owen Thomas is currently preparing various

       pretrial motions. However, Counsel has been ill, and therefore requires additional time to

       finish preparation of these motions. Defendant Thomas therefore seeks a revised motions

       schedule to file any pretrial motions.

   2. Defendant’s propose the following revised motions schedule.
   -   Motion deadline:       Feb. 23
   -   Response deadline:     March 9
   -   Replies deadline:      March 16


   WHEREFORE, Defendant Kenneth Joseph Owen Thomas respectfully requests that the

Court revise and extend the current pretrial motions schedule. The United States consents to this

request.



Date: February 16, 2023                         Respectfully Submitted,


                                                /s/ John M. Pierce
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                                               John M. Pierce
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                                        CERTIFICATE OF SERVICE
I, John M. Pierce, hereby certify that on this day, February 02, 2023, I caused a copy of the foregoing
document to be served on all counsel through the Court’s CM/ECF case filing system.
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                           /s/ John M. Pierce
                           John M. Pierce
